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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 PURPLE INNOVATION, LLC, a Delaware                ORDER DENYING GHOSTBED INC.’S
 limited liability company,                        SHORT FORM DISCOVERY MOTION
 Plaintiff,
                                                           Case No. 2:17-cv-00138-DB
 vs.
                                                          The Honorable Dee Benson
 HONEST REVIEWS, LLC, a Florida                          Magistrate Judge Dustin B. Pead
 corporation, RYAN MONAHAN, an
 individual, and GHOSTBED, INC., a
 Delaware corporation, MARC WERNER, an
 individual, ASHLEY WERNER SPAHIC, an
 individual, WERNER MEDIA PARTNERS,
 LLC, d/b/a NATURE’S SLEEP, LLC, an
 Illinois limited liability company, and
 SOCIAL MEDIA SHARKS, LLC, a Florida
 limited liability company.

 Defendants.


        This case is currently before Magistrate Judge Dustin B. Pead pursuant to a 28 U.S.C.

§636(b)(1)(A) referral from District Court Judge Dee Benson. Before the court is Defendant

GhostBed, Inc.’s (“Defendant GhostBed”) Short Form Discovery Motion for Sanctions against

Purple Innovations, LLC (“Plaintiff” or “Purple”). (“Motion”, ECF No. 376.)

                                          I.     DISPUTE

        Defendant GhostBed moves for sanctions against Plaintiff for allegedly failing to comply

with the court’s discovery order (“Order”, ECF No. 349) dated August 2, 2018. Defendant

GhostBed asserts Plaintiff’s supplemental responses to interrogatories 1, 2 and 4 are deficient. In

turn, Defendant Ghostbed requests the court bar Plaintiff from introducing or relying on any
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evidence or argument contained in its deficient supplemental discovery responses. (Motion, ECF

No. 376 at 3.)

       In response, Plaintiff states Defendant GhostBed’s Motion should be denied because it

has, in good faith, sufficiently complied with the court’s Order. (Opposition to Defendant

Ghostbed, Inc.’s Short Form Discovery Motion (“Opp’n”), ECF No. 379.)

                                        II.     DISCUSSION

       In July of 2018, Defendant Ghostbed filed a Short Form Discovery Motion requesting the

court compel Plaintiff’s responses to Defendant Ghostbed’s interrogatories 1, 2 and 4. (ECF No.

344.) The interrogatories in dispute primarily requested Plaintiff to identify statements,

representations, advertising claims and/or false impressions that it maintains are false or

misleading, provide the facts supporting or refuting the allegation, and identify the facts that

Defendant Ghostbed knew about or supported the false or misleading statements. In response,

Plaintiff referred Defendant Ghostbed to thousands of pages of documents previously produced

by the parties without directing Defendant Ghostbed to any specific statement contained in the

documents. (ECF No. 344-1 at 6, 7, 9.) As a means to remedying the deficient responses,

Defendant Ghostbed obtained an Order from this court instructing Plaintiff to respond, with

specificity, to interrogatories 1, 2 and 4. (ECF No. 349.) On August 20, 2018, Plaintiff

supplemented its responses to interrogatories 1, 2 and 4. (ECF No. 376-1.)

       Defendant Ghostbed contends Plaintiff’s supplemental response to interrogatory 1 is

“qualified” by using the language “including…but not limited to” and therefore fails to adhere to

the specific identification mandate. (Motion at 2.) The court disagrees with Defendant

Ghostbed’s contention. Over 4 1/2 pages of its supplemental response, Plaintiff identifies with



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specificity statements and articles that, as a whole, it contends are false or misleading. While

Plaintiff does reserve the right to supplement the list of statements or documents, this does not

sidestep the court’s Order. Therefore, Plaintiff’s supplemental response to interrogatory 1 meets

the specific identification mandate.

       Unlike interrogatory 1, the court is unable to assess the thoroughness of Plaintiff’s

remaining responses. While the responses do refer Defendant Ghostbed to many documents that

Plaintiff contends provide “…direct or circumstantial evidence of Ghostbed’s knowledge or

encouragement of the false and misleading statements at issue,” the content of those documents

in unknown to the court. Opp’n at 2. For example, the court is unable to evaluate whether

referring Ghostbed to the Amazon Review by Cami J. sufficiently identifies the material facts

supporting or refuting Purple’s allegations that Defendant GhostBed had actual knowledge of the

alleged false or misleading nature of each statement identified.

       Further, while Defendant Ghostbed requests the court sanction Plaintiff by excluding

evidence as permitted by Fed. R. Civ. P. 37(b)(2)(A)(ii), dismissal or the exclusion of evidence is

an extreme sanction typically implemented when the discovery violation is predicated upon

willfulness, bad faith, or fault. See generally Archibeque v. Atchison, Topeka and Santa Fe Ry.

Co., 70 F.3d 1172, 1174 (10th Cir. 1995) (internal quotations omitted). Here, Defendant

Ghostbed does not establish that Plaintiff proceeds in bad faith or has willfully disobeyed the

court’s discovery order. Therefore, the court declines Defendant Ghostbed’s invitation to

implement an exclusion of evidence sanction.




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                                         III.       ORDER

       Based upon the foregoing, the court, having carefully reviewed the submissions of the

parties in connection with Defendant GhostBed’s Motion, and for the reasons stated herein,

hereby DENIES the Motion.

       SO ORDERED this 7th day of November, 2018.


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                                                            Dustin B. Pead
                                                            United States Magistrate Judge




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